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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

    PERSONALIZED MEDIA
    COMMUNICATIONS, LLC,                     1
                   Plaintiff,                §
    N.                                       § CIVIL ACTION NO. 2:15-CV-1366-JRG

    APPLE, INC.,
                                             §
                   Defend t.                 §
                                   VERDICT FORM

         In answering the following questions and completing this Verdict Form, you

   are to follow all the instructions I have given you in the Court s Final Jury

   Instructions. Your answers to each question must be unanimous. Some of the

   questions contain legal terms that are defined and explained in detail in the Final

   Jury Instructions. You should refer to and consider the Final Jury Instructions as you

   answer the questions in this Verdict Form.
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   As used herein, the following terms have the following meanings:


         • PMC means Plaintiff Personalized Media Communications, LLC.

         • “Apple refers to Defendant Apple, Inc.

         • The “ 091 Patent or the “Patent-in-Suit means U.S. Patent No.
               8,191,091.

         • The “Asserted Claims means collectively Claims 13, 14, 15, and 16 of
               the 091 Patent.




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     IT IS VERY IMPORTANT THAT YOU FOLLOW THE
    INSTRUCTIONS PROVIDED IN THIS VERDICT FORM.




            READ THEM CAREFULLY AND
     ENSURE YOUR VERDICT COMPLIES WITH THEM.




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   QUESTION 1;

         Has PMC proven by a preponderance of the evidence that Apple infringed

   ANY of the Asserted Claims of 091 Patent?

         Please check either Yes or “No.




                          No:




   If you answered Question 1 NO, do NOT answer any other questions. Instead
   leave the remaining questions unanswered and go to the final page of the Jury
    Verdict                          form.                      1




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   Answer Questions 2a and 2 b ONLY as to any Asserted Claims that you have found
   are infringed.



   QUESTION 2a;

         What sum of money, if any, paid now in cash, has PMC proven by a

   preponderance of the evidence would compensate PMC for its damages resulting

   from infringement?




   Answer in United States Dollars and Cents, if any:




         $            3            ,                    /0           .




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    QUESTION 2b:

         Is the amount you awarded in Question 2a a lump-sum representing damages

   for past and future use of the claimed methods, or is the amount you awarded in

   Question 2a a running royalty?




         Check one of the following:




                                               Lump Sum

                                               OR

                                               Running Royalty




                                           6
•   ,    ,   I

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                                      FINAL PAGE OF JURY VERDICT FORM

                       You have now reached the end of the Verdict Form and should review it to

                 ensure it accurately reflects your unanimous determinations. The Jury Foreperson

                 should then sign and date the Verdict Form in the spaces below. Once this is done,

                 notify the Court Security Officer that you have reached a verdict. The Jury

                 Foreperson should keep the Verdict Form and bring it when the jury is brought back

                 into the courtroom.



                             IQ__ day of March, 2021.
                 Signed this �L
                                ±/L




                                                     -_____________
                                                     Jury Foreperson




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